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                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

MICHAEL SMITH, WAYNE BOYD, and §
DEDRICK WILEY, on Behalf of Themselves §
and all Others Similarly Situated,     §
                                       §
       Plaintiffs,                     §
                                       §
v.                                     §                  CIVIL ACTION NO. 3:20-cv-3618-B
                                       §
P & B INTERMODAL SERVICES, LLC,        §                  JURY TRIAL DEMANDED
                                       §
       Defendant.                      §                  COLLECTIVE ACTION

                                                 ORDER

          Before the Court is the Agreed Motion Regarding Fair Labor Standards Act (“FLSA”)

Certification and Notice to Putative Collective Action Members (Doc. 34) filed by Plaintiffs

Michael Smith, Wayne Boyd, and Dedrick Wiley (collectively “Plaintiffs”). After considering the

pleadings, the motion, and all legally competent evidence, the Court GRANTS the Motion (Doc.

34).

          The Court ORDERS as follows:

          1.      The Court certifies a collective action under the federal Fair Labor Standards Act,

29 U.S.C. § 216, as follows:

               All current and/or former CCT 1 Technician employees of Defendant P
               & B Intermodal Services, LLC (“Defendant”) who work and/or worked
               for Defendant in Texas who are and/or were paid on an hourly basis who
               also receive and/or received pay labeled as “incentives” in their earnings
               statements that is not and/or was not included in their respective FLSA
               regular rates of pay for corresponding workweeks in which they worked
               more than forty (40) hours which allegedly results and/or resulted in an
               underpayment of the FLSA overtime wages they are and/or were owed
               (hereafter the “Putative Collective Action Members”). The Putative
               Collective Action Members covered by this Order are those employed

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    “CCT” stands for “chassis, container, and trailer.”
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               by Defendant at any time during the time period of December 17, 2017
               to the date of this Order.

          2.      The Court approves the Notice, Consent to Join form, and Client Data Sheet

(collectively the “Notice Packet”) provided in the Appendix to the Motion.

          3.      No later than fourteen (14) calendar days after the date of this Order, Defendant

shall disclose the full names, last known addresses, last known e-mail addresses, and dates of

employment of the Putative Collective Action Members (the “Contact Information”) to Plaintiffs’

counsel. The Contact Information shall be produced in a usable electronic format.

          4.      No later than twenty-one (21) calendar days from Plaintiffs’ counsel’s receipt of

the Contact Information from Defendant, Plaintiffs’ counsel shall mail, via First Class U.S. Mail

and, where possible, also e-mail the Notice Packet to each of the Putative Collective Action

Members identified by Defendant as required by this Order.

          5.      The Court orders that the envelope, in which the aforementioned Notice Packet

shall be mailed, state on the outside, in regular or bold typeface: “Notice of Unpaid Overtime

Lawsuit – Deadline to Join.” Plaintiffs’ counsel may also e-mail the Notice Packets to the

Putative Collective Action Members with the same notice on the cover e-mail and subject line

attaching the Notice Packet. Plaintiffs’ counsel may include a postage-paid and self-addressed

envelope with the mailed Notice Packet.

          6.      Within three business day of mailing the Notice Packets to the Putative Collective

Action Members, counsel for Plaintiffs shall file a notice with the Court through the Court’s ECF

system advising of the date of the mailing. That notice shall identify the date the Notice Period

closes.

          7.      The Putative Collective Action Members shall have ninety (90) days to return their

signed Consent to Join forms to Plaintiffs’ counsel for filing with the Court. That ninety (90) day



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period shall begin to run three days after the mailing of the Notice Packet by Plaintiffs’ counsel

(the “Notice Period”). Notice shall be considered timely received if postmarked or faxed no later

than the end of Notice Period and filed by Plaintiffs’ counsel no later than seven (7) calendar days

after the close of the Notice Period.

       8.      No sooner than thirty (30) calendar days before the expiration of the Notice Period,

Plaintiffs’ counsel may send a postcard reminder to the Putative Collective Action Members and

is authorized to send an e-mail to the Putative Collective Action Members (containing the same

language as the postcard reminder) reminding them of the deadline for the submission of the

Consent to Join forms.

       9.      Should any Putative Collective Action Member provide Defendant or Defendant’s

counsel with a partially or completely executed Consent to Join form during the Notice Period,

Defendant’s counsel shall provide such document(s) to Plaintiffs’ counsel no later than one (1)

business day after Defendant or Defendant’s counsel receives same.



SO ORDERED.

SIGNED: May 26, 2021.




                                              JANE J. BOYLE
                                              UNITED STATES DISTRICT JUDGE




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